      Case 3:18-cv-00043-RGE-HCA Document 1 Filed 04/18/18 Page 1 of 5



                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF IOWA
                             DAVENPORT DIVISION


TREVOR ANDERSEN and LISA
ANDERSEN, individually and as next                      Civil Action No. 18-00043
friend of M.A., and J.A.,
                                                [Johnson County Case No. LACV079744]
       Plaintiffs,
                                                  DEFENDANT MZ UNITED, INC.’S
vs.                                                   NOTICE OF REMOVAL

ALBERT RAMADANOSKI and
MZ UNITED, INC.,

       Defendants.


       Defendant MZ United, Inc. (“MZ United”), pursuant to 28 U.S.C. §§ 1332, 1441

and 1446 and Local Rule 81, hereby requests removal of the instant action from the Iowa

District Court in and for Johnson County to the United States District Court for the

Southern District of Iowa, Davenport Division, and in support thereof states as follows:

       1.      On March 12, 2018, Plaintiffs filed a Petition at Law and Jury Demand

against MZ United in the Iowa District Court in and for Johnson County. On March 29,

2018, Plaintiffs served the Petition at Law and Jury Demand on MZ United. The time

within which MZ United is allowed to file this Notice of Removal has not elapsed.

       2.      On or about April 13, 2018, Plaintiffs served defendant Albert Ramadanoski

(“Ramadanoski”).

       3.      Ramadanoski consents to and joins in this Notice of Removal pursuant to 28

U.S.C. § 1446.
       Case 3:18-cv-00043-RGE-HCA Document 1 Filed 04/18/18 Page 2 of 5



       4.     This Court has original jurisdiction over this matter pursuant to 28 U.S.C. §

1332 because there is complete diversity of the parties and the amount in controversy

exceeds $75,000.00, exclusive of interest and costs.

       5.     First, there is complete diversity of the parties. Wierman v. Casey’s General

Stores, 638 F.3d 984, 1003-04 (8th Cir. 2010) (quoting 28 U.S.C. § 1332(c)(1) (“For the

purposes of this section…a corporation shall be deemed to be a citizen of any State by

which it has been incorporated and of the State where it has its principal place of business”);

see also Crosby v. Paul Hardenman, Inc. 414 F.2d 1, 3 (8th Cir. 1969) (citing Pullman Co. v.

Jenkins, 305 U.S. 534, 537-538 (1939)) (“The allegations of the complaint as set forth at the

time the petition for removal was filed are controlling.”)         MZ United is an Illinois

corporation with its principal place of business in Illinois. (Pet. at Law & Jury Demand ¶ 3.)

Accordingly, MZ United is a citizen of Illinois. Ramadanoski is a citizen of Illinois. (Pet. at

Law & Jury Demand ¶ 2.)

       6.     Plaintiffs are citizens of Iowa. (Pet. at Law & Jury Demand ¶ 1.) Accordingly,

there is a complete diversity of citizenship between the Plaintiffs and all defendants.

       7.     Second, the amount in controversy exceeds $75,000.00. “[T]he notice of

removal may assert the amount in controversy if the initial pleading seeks… a money

judgment, but the State practice…does not permit demand for a specific sum…” 28 U.S.C. §

1446(c)(2)(A); see also Iowa R. Civ. P. 1.403(1) (“Except in small claims and cases

involving only liquidated damages, a pleading shall not state the specific amount of money

damages sought…”).

       8.     The Petition and Jury Demand does not state a specific amount of monetary

relief requested. (Pet. at Law & Jury Demand.)


                                                 2
         Case 3:18-cv-00043-RGE-HCA Document 1 Filed 04/18/18 Page 3 of 5



            9.    “As a general matter, settlement demands are relevant evidence of the

amount in controversy if it appears to reflect a reasonable estimate of the plaintiff's claim.”

Wang v. Pac. Cycle, Inc., 530 F. Supp. 2d 1048, 1051 (S.D. Iowa 2008) (internal quotations

omitted).

            10.   The amount claimed by the plaintiff is generally dispositive for determining

the amount in controversy. Schubert v. Auto Owners Ins. Co., 649 F.3d 817, 822 (8th Cir.

2011).

            11.   In their demand, Plaintiffs assert $58,000 in past medical expenses, as well as

additional damages for future medical expenses, past and future pain and suffering, loss of

enjoyment of life, and loss of spousal and parental consortium. (Ex. A at p. 3.)

            12.   Plaintiffs have demanded $1,000,000 in full settlement of their claims. (Ex. A

at p. 4.)

            13.   Accordingly, the amount in controversy exceeds the sum or value of $75,000.

            14.   The civil action may be removed to this Court pursuant to 28 U.S.C. §

1441(a) and (b), because the United States District Court for the Southern District of Iowa,

Davenport Division, is the district embracing the place where this action is pending. 28

U.S.C. § 1441.

            15.   Pursuant to 28 U.S.C. § 1446(d), MZ United will timely serve Plaintiffs’

counsel written notice of the filing of this Notice of Removal.

            16.   Pursuant to 28 U.S.C. § 1446(d), MZ United will timely file a notice of filing

this Notice of Removal with the Clerk of Court for the Iowa District Court in and for

Johnson County.




                                                 3
       Case 3:18-cv-00043-RGE-HCA Document 1 Filed 04/18/18 Page 4 of 5



       17.     Pursuant to Local Rule 81(a)(1), copies of all process, pleadings, and orders

filed in the state court case are attached hereto as Exhibit B. Plaintiffs’ affidavit of service of

Defendant Ramadanoski has not been filed. MZ United will file a supplemental Local Rule

81 statement when a file-stamped copy of the aforementioned pleading is filed in Johnson

County Case No. LACV079744.

       18.     Pursuant to Local Rule 81(a)(2), no other matters are currently pending in

state court.

       19.     Pursuant to Local Rule 81(a)(3), the names and contact information of

counsel that have appeared in the state court action are included on the statement

complying with Local Rule 81(a), attached hereto as Exhibit C.

       20.     MZ United does not waive any defenses which may be available by filing this

notice of removal.

       WHEREFORE, Defendant MZ United, Inc. requests this Court take jurisdiction of

this notice of removal and issue all necessary orders and process in order to remove the

above-captioned case from the Iowa District Court in and for Johnson County to the United

States District Court for the Southern District of Iowa, Davenport Division.


Dated: April 18, 2018                            SIMMONS PERRINE MOYER BERGMAN PLC

                                                 By:     /s/ Michael McDonough
                                                       Michael McDonough, AT0005071
                                                       Graham R. Carl           AT0012246
                                                       115 Third Street, S.E., Suite 1200
                                                       Cedar Rapids, IA 52401-1266
                                                       Telephone: (319) 366-7641
                                                       Facsimile: (319) 366-1917
                                                       Email: mmcdonough@spmblaw.com
                                                              gcarl@spmblaw.com

                                                 ATTORNEYS FOR DEFENDANTS

                                                4
      Case 3:18-cv-00043-RGE-HCA Document 1 Filed 04/18/18 Page 5 of 5



                              CERTIFICATE OF SERVICE

       I hereby certify that on April 18, 2018, I electronically filed the foregoing document
with the Clerk of Court using the EDMS system with a copy being sent via electronic notice
to counsel of record:

       Jace T. Bisgard
       Megan R. Merritt
       SHUTTLEWORTH & INGERSOLL, PLC
       115 3rd Street SE, Suite 500
       P.O. Box Box 2107
       Cedar Rapids, Iowa 52406-2107
       jtb@shuttleworthlaw.com
       mrm@shuttleworthlaw.com
       Attorneys for Plaintiffs

                                                         /s/ Candace A. Erickson




                                             5
